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                                       #:2447


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                        IN THE UNITED STATES DISTRICT COURT
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                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
10
                                    WESTERN DIVISION
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     SECURITIES AND EXCHANGE                   Case No. 2:21-CV-02927-CAS-GJSx
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     COMMISSION,
14                                             ORDER GRANTING THIRD
                           Plaintiff,          PARTY ROGUE BLACK, LLC’S
15
                                               UNOPPOSED EX PARTE
          v.
16                                             APPLICATION FOR AN ORDER
     ZACHARY J. HORWITZ; and 1INMM             MODIFYING ACCOUNT FREEZE
17
     CAPITAL, LLC,
18                                             Ctrm: 8D
                           Defendants.         Judge: Honorable Christina A. Snyder
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          [PROPOSED] ORDER GRANTING EX PARTE APPLICATION TO MODIFY ACCOUNT
                         FREEZE / CASE NO. 2:21-CV-02927-CAS-GJSx
     Case 2:21-cv-02927-CAS-PD    Document 54 Filed 08/30/21       Page 2 of 3 Page ID
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 1        The Court having considered third-party Rogue Black, LLC’s (“Rogue Black”)
 2   Unopposed Ex Parte Application To Modify Account Freeze and for good cause shown, it
 3   is hereby ORDERED that:
 4           1. Rogue Black’s Unopposed Ex Parte Application To Modify Account Freeze
 5              is GRANTED.
 6           2. The Court’s April 6, 2021 Order (1) Freezing Assets; (2) Requiring An
 7              Accounting; (3) Prohibiting Destruction Of Documents; and (4) To Set
 8              Hearing On Order To Show Cause (Dkt. 18), and May 14, 2021 Order
 9              Freezing Assets and Prohibiting Destruction of Documents (Dkt. 43) (the
10              “Freeze Orders”) are modified as follows:
11                 a. Rogue Black may open one new bank account (the “Rogue Black
12                    Bank Account”) solely for the purposes of (1) allowing Rogue Black
13                    to receive payments in connection with the films it has produced; and
14                    (2) withdrawing up to $268,000.00 from the new account for payment
15                    of the ordinary and necessary business expenses that Rogue Black has
16                    identified in its Ex Parte Application, including but not limited to (a)
17                    paying the expenses described above that Rogue Black owes to third
18                    parties, (b) reimbursing Rogue Black’s co-manager for the Rogue
19                    Black expenses that he paid personally, as well as his relevant
20                    attorneys’ fees incurred in connection with this matter, and (c) paying
21                    Rogue Black’s attorneys’ fees incurred in connection with this matter.
22                    The Rogue Black Bank Account will otherwise be subject to the
23                    Freeze Orders, and no additional withdrawals will be made without
24                    further Court order.
25                 b. Neither Zachary Horwitz, 1inMM, nor any company owned in whole
26                    or in part by Zachary Horwitz (with the exception of Rogue Black)
27                    shall have access to the Rogue Black Bank Account.
28                 c. Rogue Black will provide counsel for the SEC, on fourteen (14) days’
                                             2
          [PROPOSED] ORDER GRANTING EX PARTE APPLICATION TO MODIFY ACCOUNT
                         FREEZE / CASE NO. 2:21-CV-02927-CAS-GJSx
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